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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
            v.                                    )
                                                  )      Criminal Action No. 1:15-23-RGA
DAVID R. GIBSON,                                  )
ROBERT V.A. HARRA,                                )
WILLIAM NORTH, and                                )
KEVYN RAKOWSKI                                    )
                                                  )
                         Defendants.              )

                          JOINT MOTION FOR SCHEDULING ORDER

     The parties, by and through undersigned counsel, respectfully request that the Court enter an

Order setting briefing and other deadlines regarding whether Defendants should be released

pending appeal, 18 U.S.C. §§ 3141(b), 3143(b). The basis for the parties’ request is the following:

       1. This Court has scheduled sentencing hearings for Defendants Harra and Gibson on

December 17, 2018, and Defendants North and Rakowski on December 19, 2018.

       2.        Should the Court impose sentences including a period of imprisonment, the United

States will not oppose Defendants’ requests to self-surrender to the United States Bureau of Prisons

given their compliance to date with the terms and conditions of pretrial and post-trial release.

       3. The parties, however, request an opportunity to brief whether Defendants should be

released pending appeal prior to any self-surrender date imposed by the Court.

       4. After meeting and conferring, the parties respectfully request that the Court apply the

following deadlines:
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                           Activity                                    Date

                    Defense Motions Due                          January 4, 2019

                 Government Response Due                         January 18, 2019

                     Defense Reply Due                           January 20, 2019

                 Hearing Date (if determined                Week of January 21, 2019
                  necessary by the Court)

                    Self-Surrender Date to                 On or after February 19, 2019
              the Bureau of Prisons (if period of
                   imprisonment imposed)



       WHEREFORE, the parties respectfully request that the Court enter the proposed Order.

                                                           Respectfully Submitted,
                                                           DAVID C. WEISS

                                                           United States Attorney

                                                                  /s/
                                                           Robert F. Kravetz
                                                           Lesley F. Wolf
                                                           Jamie M. McCall
                                                           Assistant United States Attorneys

By:              /s/
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By:              /s/
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By:             /s/
      Henry E. Klingeman
      Bartholomew J. Dalton
      Attorneys for Defendant Kevyn Rakowski


      Dated: December 6, 2018



        AND NOW, this ____ day of _____________________, 2018, IT IS SO ORDERED.



                                           By the Court: ______________________________
                                                         Hon. Richard G. Andrews
                                                         United States District Judge
